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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN OF TENNESSEE
                                  WESTERN DIVISION


THE ESTATE OF JIM K. SCOTT, and       )
REGINA SCOTT, Individually            )
                                      ) NO. 2:10-CV-02851-SHM-cgc
            Plaintiff,                )
                                      )
            v.                        )
                                      )
NATIONAL UNION FIRE INSURANCE         )
COMPANY OF LOUISIANA d/b/a            )
NATIONAL UNION FIRE INSURANCE         )
COMPANY; NATIONAL UNION FIRE          )
INSURANCE COMPANY OF PITTSBURGH       )
d/b/a NATIONAL UNION FIRE INSURANCE   )
COMPANY; and, CHASE HOME FINANCE, LLC )
                                      )
            Defendant.

      STIPULATION OF DISMISSAL OF DEFENDANT NATIONAL UNION FIRE
      INSURANCE COMPANY OF LOUISIANA D/B/A NATIONAL UNION FIRE
                       INSURANCE COMPANY ONLY

        Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, the parties stipulate that

Defendant National Union Fire Insurance Company of Louisiana d/b/a National Union Fire

Insurance Company is not a proper defendant in this matter and that this Defendant may be

dismissed without prejudice. It is therefore,

        STIPULATED that Defendant National Union Fire Insurance Company of Louisiana

d/b/a National Union Fire Insurance Company is dismissed, and the costs of this cause are held

in abeyance until final resolution of this matter.




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